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    IT IS ORDERED as set forth below:



    Date: October 10, 2018
                                                                 _____________________________________
                                                                            Wendy L. Hagenau
                                                                       U.S. Bankruptcy Court Judge

_______________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRIST OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                               )        CASE NO. 15-58440-WLH
                                                     )        (Jointly Administered)
BAY CIRCLE PROPERTIES, LLC et al., 1                 )
                                                     )        CHAPTER 11
                          Debtors.                   )
                                                     )        JUDGE WENDY L. HAGENAU

                                        ORDER TO SHOW CAUSE

         It has come to the Court’s attention that Debtor Nilhan Developers LLC has allegedly

repurchased property located at 2800 and 2810 Spring Road, Smyrna, Georgia. The Debtors, their

principal and their counsel are directed to appear before this Court on October 25, 2018 at 1:30

p.m., Courtroom 1403, United States Courthouse, Richard B. Russell Building, 75 Ted Turner

Drive, S.W., Atlanta, Georgia to verify to the Court if the property was purchased by the Debtor,

the purchase price, the source of the funds for the purchase, and any other information related

thereto.



1
  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Bay Circle
Properties, LLC (1578), DCT Systems Group, LLC (6978), Sugarloaf Centre, LLC (2467), Nilhan Developers, LLC
(6335), and NRCT, LLC (1649).
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